                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA                      )
                                              )         CASE NO. 3:12-cr-239
             v.                               )
                                              )         ORDER
 KUROSH MEHR (9)                              )
_______________________________               )


          THIS MATTER is before the Court upon Defendant’s Motion for Release from Custody

(Doc. No. 720). Defendant was taken into custody on October 2, 2014 following his conviction

at trial. He now moves for release pursuant to 18 U.S.C. § 3143 and requests a hearing on this

matter.

          IT IS THEREFORE ORDERED that the Court will conduct a hearing on Defendant’s

Motion for Release from Custody on October 14, 2014 at 10:30 a.m. in Courtroom 3 in the

Charlotte Division. The U.S. Marshal Service is directed to transport the Defendant to the

hearing. The Clerk of Court is directed to certify copies of this order to the U.S. Marshal Service,

the U.S. Probation Office, and the Defendant.

SO ORDERED.

 Signed: October 7, 2014




   Case 3:12-cr-00239-GCM-DCK              Document 721        Filed 10/07/14      Page 1 of 1
